           Case 17-01130-jw         Doc 221       Filed 06/22/18 Entered 06/22/18 08:59:22                Desc Main
                                                  Document      Page 1 of 6




                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF SOUTH CAROLINA

IN RE: CONNIE LYNETTE HARDWICK                                  CASE NO: 17-01130-jw
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11




On 6/22/2018, I did cause a copy of the following documents, described below,
Orders approving fees for Law Office of L. Morgan Martin, P.A., Crowley Wechsler & Associates LLC, and Markham Law
Firm, LLC




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 6/22/2018
                                                          /s/ Sean Markham
                                                          Sean Markham 10145

                                                          Markham Law Firm, LLC
                                                          PO Box 20074
                                                          Charleston, SC 29413-0074
                                                          843 284 3646
              Case 17-01130-jw             Doc 221        Filed 06/22/18 Entered 06/22/18 08:59:22                         Desc Main
                                                          Document      Page 2 of 6




                                         UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF SOUTH CAROLINA

 IN RE: CONNIE LYNETTE HARDWICK                                           CASE NO: 17-01130-jw

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 11




On 6/22/2018, a copy of the following documents, described below,

Orders approving fees for Law Office of L. Morgan Martin, P.A., Crowley Wechsler & Associates LLC, and Markham Law
Firm, LLC




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 6/22/2018




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             Sean Markham
                                                                             Markham Law Firm, LLC
                                                                             PO Box 20074
                                                                             Charleston, SC 29413-0074
           Case 17-01130-jw
PARTIES DESIGNATED                DocNOT221
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PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 3 of 6
CASE INFO                                628A SEA MOUNTAIN HIGHWAY                AMCOL SYSTEMS INC
LABEL MATRIX FOR LOCAL NOTICING          CO KENNETH R MOSS ESQ                    AMCOL SYSTEMS INC
04202                                    628A SEA MOUNTAIN HIGHWAY                PO BOX 21625
CASE 17-01130-JW                         NORTH MYRTLE BEACH SC 29582-2497         COLUMBIA SC 29221-1625
DISTRICT OF SOUTH CAROLINA
CHARLESTON
FRI JUN 22 08-44-30 EDT 2018



ANDERSON BROTHERS BANK                   ATT                                      ALLY BANK
PO BOX 310                               PO BOX 105503                            PO BOX 130424
MULLINS SC 29574-0310                    ATLANTA GA 30348-5503                    ROSEVILLE MN 55113-0004




ALLY FINANCIAL                           ARBOR ONE FARM CREDIT                    ARBORONE ACA
PO BOX 380901                            800 WOODY JONES BLVD                     CO EDWARD LOVE
BLOOMINGTON MN 55438-0901                FLORENCE SC 29501-7419                   135 SOUTH DARGAN STREET
                                                                                  SUITE 201
                                                                                  FLORENCE SC 29506-2587




ATTORNEY GENERAL OF THE UNITED STATES    BELKSYNCHRONY                            BANK OF AMERICA
DEPARTMENT OF JUSTICE                    PO BOX 530940                            NC41050314
950 PENNSYLVANIA AVE NW                  ATLANTA GA 30353-0940                    PO BOX 26012
WASHINGTON DC 20530-0009                                                          GREENSBORO NC 27420-6012




JOHN B BUTLER III                        CITY OF NORTH MYRTLE BEACH               CLARENDON COUNTY GOVERNMENT
1217 ANTHONY AVENUE                      1016 SECOND AVE SOUTH                    411 SUNSET DRIVE
COLUMBIA SC 29201-1701                   NORTH MYRTLE BEACH SC 29582-3100         MANNING SC 29102-2423




CLARENDON COUNTY UTILITY                 COMCAST                                  CARD ASSETS
411 SUNSET DR                            PO BOX 530098                            PO BOX 105025
MANNING SC 29102-2423                    ATLANTA GA 30353-0098                    ATLANTA GA 30348-5025




CHASE CARD                               CHASE MORTGAGE                           CITIBANK NA
ATTN CORRESPONDENCE                      3415 VISION DR                           PO BOX 790040
PO BOX 15298                             COLUMBUS OH 43219-6009                   ST LOUIS MO 63179-0040
WILMINGTON DE 19850-5298




CITICARDS CBNA                           CITIZENS BANK NA                         CITIZENS BANK NA
CITICORP CREDIT SVCCENTRALIZED           CITIZENS BANK NA                         1 CITIZENS DRIVE MAILSTOP ROP15B
BANKRUPT                                 1 CITIZENS DRIVE MAILSTOP ROP15B         RIVERSIDE RI 02915-3026
PO BOX 790040                            RIVERSIDE RI 02915-3026
SAINT LOUIS MO 63179-0040




CITIZENS FINANCIAL GROUP                 CMPPTNRSLIMESTONE COL                    COLUMBUS BANK TRUST
ONE CITIZENS PLAZA                       1115 COLLEGE DR                          PO BOX 120
PROVIDENCE RI 02903-1339                 GAFFNEY SC 29340-3799                    COLUMBUS GA 31902-0120
           Case 17-01130-jw
PARTIES DESIGNATED                DocNOT221
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                                             Document        Page 4 of 6
COMENITY BANKTHE BUCKLE                  CONWAY NATIONAL BANK                     RICHARD C COOKE
PO BOX 659704                            9726 HIGHWAYY 17 NORTH                   CO MCCARTHY REYNOLDS PENN LLC
SAN ANTONIO TX 78265-9704                MYRTLE BEACH SC 29572                    1517 LAUREL STREET
                                                                                  COLUMBIA SC 29201-2622




MAGALIE A CREECH                         DOUBLE J FARMS LLC                       DUKE PROGRESS
FINKEL LAW FIRM LLC                      4277 JOYNER SWAMP RD                     PO BOX 1771
1201 MAIN STREET                         GALIVANTS FERRY SC 29544-6207            RALEIGH NC 27602-1771
COLUMBIA SC 29201-3294




DISCOVER BANK                            DISCOVER FINANCIAL                       DOUBLE J FARMS LLC
DISCOVER PRODUCTS INC                    PO BOX 3025                              4272 JOYNER SWAMP RD
PO BOX 3025                              NEW ALBANY OH 43054-3025                 GALIVANTS FERRY SC 29544
NEW ALBANY OH 43054-3025




FARMERS TELEPHONE COOP                   FIRST ARKANSAS BANK TRUST DBA CARD       FLORENCE COUNTY TAX ASSES
2389 PAXVILLE HWY                        ASSETS                                   180 NORTH IRBY ST
MANNING SC 29102-5076                    CARD SERVICES CENTER                     MSC-I
                                         CARD ASSETS ATTN- AJENE N GREENWOOD      FLORENCE SC 29501-3456
                                         200 CHASTAIN CENTER BLVD NW STE 200
                                         KENNESAW GA 30144-5891




FORDS FUEL PROPANE                       FIRST RELIANCE BANK                      FIRST RELIANCE BANK
4115 HOLLY STREET                        2170 WEST PALMETTO ST                    ATTN ALLEN GRIFFIN
LORIS SC 29569-2459                      FLORENCE SC 29501-3900                   2170 W PALMETTO ST
                                                                                  FLORENCE SC 29501-3900




FLORENCE COUNTY TREASURES OFFICE         ELISABETTA G GASPARINI                   SUZANNE TAYLOR GRAHAM GRIGG
180 N IRBY ST                            OFFICE OF THE UNITED STATES TRUSTEE      NEXSEN PRUET LLC
FLORENCE SC 29501-3456                   1835 ASSEMBLY STREET SUITE 953           1230 MAIN STREET SUITE 700 29201
                                         COLUMBIA SC 29201-2448                   PO DRAWER 2426
                                                                                  COLUMBIA SC 29202-2426




HORRY COUNTY TAX ASSESSOR                HORRY COUNTY TREASURER                   HORRY ELECTRIC COOPERATIVE INC
1301 SECOND AVE                          PO BOX 1828                              PO BOX 119
STE 1C08                                 CONWAY SC 29528-1828                     CONWAY SC 29528-0119
CONWAY SC 29526-5209




                                         DEBTOR
HORRY TELEPHONE CORP                                                              HORRY ELECTRIC COOPERATIVE INC
3480 HWY 701 NORTH                       CONNIE LYNETTE HARDWICK                  2774 CULTRA ROAD
CONWAY SC 29526-5702                     4277 JOYNER SWAMP RD                     PO BOX 119
                                         GALIVANTS FERRY SC 29544-6207            CONWAY SC 29528-0119




IRS CENTRALIZED INSOLVENCY OPERATION     JPMORGAN CHASE BANK NATIONAL             LOUISE M JOHNSON
PO BOX 7346                              ASSOCIATION                              SCOTT CORLEY PA
PHILADELPHIA PA 19101-7346               MAIL CODE OH47142                        PO BOX 2065
                                         3415 VISION DRIVE                        COLUMBIA SC 29202-2065
                                         COLUMBUS OH 43219-6009
           Case 17-01130-jw
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                                             Document        Page 5 of 6
KENNETH R MOSS                           KOHLSCAPITAL ONE                         LOWES
628A SEA MOUNTAIN HIGHWAY                KOHLS CREDIT                             PO BOX 530914
NORTH MYRTLE BEACH SC 29582-2497         PO BOX 3043                              ATLANTA GA 30353-0914
                                         MILWAUKEE WI 53201-3043




LIBERTY CENTER BUILDING                  MAPLE RIDGE                              MARION COUNTY TAX COLLECTOR
151 MEETING STREET SUITE 200             PO BOX 628                               100 NW COURT ST 103
CHARLESTON SC 29401-2238                 PIGEON FORGE TN 37868-0628               MARION SC 29571




SEAN P MARKHAM                           JULIO E MENDOZA JR                       GRAHAM S MITCHELL
MARKHAM LAW FIRM LLC                     NEXSEN PRUET LLC                         NELSON MULLINS RILEY AND SCARBOROUGH
PO BOX 20074                             1230 MAIN STREET SUITE 700 29201         LLP
CHARLESTON SC 29413-0074                 PO DRAWER 2426                           1320 MAIN STREET 17TH FLOOR
                                         COLUMBIA SC 29202-2426                   POST OFFICE BOX 11070 29211
                                                                                  COLUMBIA SC 29211-1070




NBSC A DIVISION OF SYNOVUS BANK          NBSCSYNOBUS                              NBSCSYNOVUS
CO GRAHAM S MITCHELL                     PO BOX 120                               PO BOX 940
NELSON MULLINS RILEY SCARBOROUGH LLP     COLUMBUS GA 31902-0120                   SUMTER SC 29151-0940
PO BOX 11070
COLUMBIA SC 29211-1070




ND HARDWICK                              NANCY PICKELSIMER                        PO BOX 78420
4648 JOYNER SWAMP RD                     PO BOX 786                               PHOENIX AZ 850628420
GALIVANTS FERRY SC 29544-6215            BREVARD NC 28712-0786




PRA RECEIVABLES MANAGEMENT LLC           RAVEN WARD                               RICHARD COOK
PO BOX 41021                             1200 NAYLOR AVE                          CO KENNTH MOSS
NORFOLK VA 23541-1021                    MYRTLE BEACH SC 29577-4322               628-A SEA MOUNTAIN HIGHWAY
                                                                                  NORTH MYRTLE BEACH SC 29582-2497




DANIEL J REYNOLDS JR                     RICHARD COOK                             SANTEE COOPER
MCCARTHY REYNOLDS PENN LLC               CO KENNETH MOSS                          PO BOX 188
1517 LAUREL STREET 29201                 628-A SEA MOUNTAIN HIGHWAY               MONCKS CORNER SC 29461-0188
PO BOX 11332                             NORTH MYRTLE BEACH SC 29582-2497
COLUMBIA SC 29211-1332




SANTEE ELECTRIC COOP                     SEVIER COUNTY ELECTRIC                   SEVIER COUNTY PROPERTY ASSESSOR
PO BOX 548                               PO BOX 4870                              125 COURT AVE SUITE 210 WEST
KINGSTREE SC 29556-0548                  SEVIERVILLE TN 37864-4870                SEVIERVILLE TN 37862-3525




SEVIER COUNTY PROPANE                    SOUTH CAROLINA DOR                       JOHN TIMOTHY STACK
PO BOX 4930                              PO BOX 125                               OFFICE OF THE UNITED STATES TRUSTEE
SEVIERVILLE TN 37864-4930                COLUMBIA SC 29202-0125                   1835 ASSEMBLY STREET SUITE 953
                                                                                  COLUMBIA SC 29201-2448
           Case 17-01130-jw
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                                             Document        Page 6 of 6
SYNCHRONY BANK                           SYNCHRONY BANK                           SYNCHRONY BANKSAMS
ATTN BANKRUPTCY                          CO PRA RECEIVABLES MANAGEMENT LLC        PO BOX 965060
PO BOX 965060                            PO BOX 41021                             ORLANDO FL 32896-5060
ORLANDO FL 32896-5060                    NORFOLK VA 23541-1021




THE CONWAY NATIONAL BANK                 TIME WARNER CABLE                        THE CITIZENS BANK
PO BOX 320                               756 MAIN STREET                          ATTN SHERRY COKER
CONWAY SC 29528-0320                     NORTH MYRTLE BEACH SC 29582              PO BOX 36
                                                                                  OLANTA SC 29114-0036




THE CITIZENS BANK                        TNB VISA TV TARGET                       US TRUSTEES OFFICE
P O BOX 36                               CO FINANCIAL RETAIL SERVICES             STROM THURMOND FEDERAL BUILDING
OLANTA SC 29114-0036                     MAILSTOP BV PO BOX 9475                  1835 ASSEMBLY ST
                                         MINNEAPOLIS MN 55440-9475                SUITE 953
                                                                                  COLUMBIA SC 29201-2448




US BANK                                  VIASAT INC                               WASTE INDUSTRIES
PO BOX 5229                              349 INVERNESS DRIVE SOUTH                3010 HWY 378
CINCINNATI OH 45201-5229                 ENGLEWOOD CO 80112-5882                  CONWAY SC 29527-4925




WELLS FARGO BANK NA                      WELLS FARGO BANKDILLARDS
PO BOX 10438                             WELLS FARGO BANK NA
DES MOINES IA 50306-0438                 PO BOX10347
                                         DES MOINES IA 50306-0347
